Case 8:22-ml-03052-JVS-KES               Document 694 Filed 11/27/24                      Page 1 of 4 Page ID
                                              #:19690



                          UNITED STATES DISTRICT COURT
 FOR THE DISTRICT OF
              Form 1. Notice of Appeal from a Judgment or Order of a
                            United States District Court

 U.S. District Court case number:               8:22-ml-03052-JVS-KES
       Notice is hereby given that the appellant(s) listed below hereby appeal(s) to
 the United States Court of Appeals for the Ninth Circuit.

 Date case was first filed in U.S. District Court: 12/28/2022

 Date of judgment or order you are appealing:                     10/29/2024

 Docket entry number of judgment or order you are appealing:                               645
 Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
    Yes         No           IFP was granted by U.S. District Court
 List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
   Class Member and Objector Ruth Rubin




 Is this a cross-appeal?          Yes            No
 If yes, what is the first appeal case number?
 Was there a previous appeal in this case?                    Yes            No
 If yes, what is the prior appeal case number?                     24-6938
 Your mailing address (if pro se):




 City:                                         State:                  Zip Code:

 Prisoner Inmate or A Number (if applicable):

 Signature       /s/ Kara M. Mundy                                       Date 11/27/2024
      Complete and file with the attached representation statement in the U.S. District Court
                     Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

 Form 1                                                                                          Rev. 06/09/2022
Case 8:22-ml-03052-JVS-KES              Document 694 Filed 11/27/24                      Page 2 of 4 Page ID
                                             #:19691



                      UNITED STATES COURT OF APPEALS
                           FOR THE NINTH CIRCUIT
                         Form 6. Representation Statement
      Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
 Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
 Name(s) of party/parties:
 Ruth Rubin


 Name(s) of counsel (if any):
 Vorys, Sater, Seymour and Pease LLP
 Kara M. Mundy
 Timothy B. McGranor
 Address: 52 East Gay Street, Columbus, Ohio 43215
 Telephone number(s): 614-464-5669
 Email(s): kmmundy@vorys.com; tbmcgranor@vorys.com
 Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes        No

 Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
 separately represented parties separately.)
 Name(s) of party/parties:
 Plaintiffs' Consumer Class


 Name(s) of counsel (if any):
 Steve W. Berman



 Address: 1302 Second Avenue, Suite 2000, Seattle, WA 98101
 Telephone number(s): (206)623-7292
 Email(s): Steve@hbsslaw.com


 To list additional parties and/or counsel, use next page.
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

 Form 6                                                1                                        New 12/01/2018
Case 8:22-ml-03052-JVS-KES             Document 694 Filed 11/27/24                      Page 3 of 4 Page ID
                                            #:19692



 Continued list of parties and counsel: (attach additional pages as necessary)
 Appellants
 Name(s) of party/parties:
 Ruth Rubin (continued)

 Name(s) of counsel (if any):
 Mason LLP
 Gary E. Mason
 Address: 5335 Wisconsin Avenue, NW, Suite 640, Washington, DC 20015
 Telephone number(s): (202)-640-1160
 Email(s): gmason@masonllp.com
 Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
 Appellees
 Name(s) of party/parties:
 Kia America, Inc. Hyundai Motor America, Hyundai Motor Company, Kia
 Corporation
 Name(s) of counsel (if any):
 Shon Morgan


 Address: 865 South Figueroa Street, 10th Floor, Los Angeles, CA 90017
 Telephone number(s): (650)-801-5004
 Email(s): shonmorgan@quinnemanuel.com
 Name(s) of party/parties:
 Plaintiffs' Consumer Class

 Name(s) of counsel (if any):
 Roland Tellis


 Address: 15910 Ventura Blvd, Suite 1600, Encino, CA 91436
 Telephone number(s): (818) 839-2333
 Email(s): rtellis@baronbudd.com
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

 Form 6                                               2                                         New 12/01/2018
Case 8:22-ml-03052-JVS-KES             Document 694 Filed 11/27/24                      Page 4 of 4 Page ID
                                            #:19693



 Continued list of parties and counsel: (attach additional pages as necessary)
 Appellants
 Name(s) of party/parties:



 Name(s) of counsel (if any):



 Address:
 Telephone number(s):
 Email(s):
 Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
 Appellees
 Name(s) of party/parties:
 Plaintiffs' Consumer Class

 Name(s) of counsel (if any):
 Elizabeth Fegan, Fegan Scott LLC


 Address: 150 S. Wacker Dr., 24th Floor, Chicago, IL 60606
 Telephone number(s): (312)741-1019
 Email(s): beth@feganscott.com
 Name(s) of party/parties:



 Name(s) of counsel (if any):



 Address:
 Telephone number(s):
 Email(s):
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

 Form 6                                               2                                         New 12/01/2018
